                            UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:     WILLIAM T POSA
           AKA: BILL POSA
           DONNA M POSA


                         Debtor(s)
                                                                 CHAPTER 13
           CHARLES J. DEHART, III
           CHAPTER 13 TRUSTEE
                      Movant                                     CASE NO: 5-19-03815-RNO

           vs.

           WILLIAM T POSA
           AKA: BILL POSA DONNA M POSA

                         Respondent(s)

                              TRUSTEE’S MOTION TO DISMISS CASE

COMES NOW, on December 12, 2019, Charles DeHart, III, Standing Chapter 13 Trustee for the Middle
District of Pennsylvania, moves this Honorable Court for dismissal of the above-captioned Chapter 13
bankruptcy case in accordance with 11 U.S.C. Section 1307(c), due to material default by the debtor(s) with
respect to the terms of the plan.

Notice of conference, hearing and other instructions are included with this Motion.

WHEREFORE, your Trustee prays that this Honorable Court enter an Order dismissing the above-captioned
case in accordance with 11 U.S.C. Section 1307(c).

                                                    Respectfully submitted,

                                                    s/ Charles J. DeHart, III
                                                    Charles J. DeHart, III, Trustee
                                                    8125 Adams Drive, Suite A
                                                    Hummelstown, PA 17036
                                                    Phone: (717) 566-6097




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                         UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

     IN RE:    WILLIAM T POSA
               AKA: BILL POSA
               DONNA M POSA                                    CHAPTER 13

                                Debtor(s)

               CHARLES J. DEHART, III                          CASE NO: 5-19-03815-RNO
               CHAPTER 13 TRUSTEE
                            Movant

                                                 NOTICE

NOTICE IS HEREBY GIVEN THAT Charles J. DeHart, III, Standing Chapter 13 Trustee for the Middle
District of Pennsylvania has filed a Motion to Dismiss for failure to make timely payments pursuant to your
Chapter 13 Plan.

YOU ARE HEREBY NOTICED that a CONFERENCE before the Trustee and a HEARING with the Court
have been scheduled on this motion. Any matters not resolved at the Trustee’s Conference shall be heard at
the dismissal hearing to be held as stated below:

     CONFERENCE before Trustee:                          HEARING:
     January 8, 2020 at 9:00 am                          January 8, 2020 at 09:30 AM
     U.S. Bankruptcy Court                               U.S. Bankruptcy Court
     Max Rosenn U.S. Courthouse                          Max Rosenn U.S. Courthouse
     197 S. Main Street                                  197 S. Main Street
     Wilkes Barre, PA                                    Wilkes Barre, PA


YOU ARE FURTHER NOTICED that you MUST attend the conference or dismissal
hearing unless one of the following takes place.

1.     You have paid the following and have confirmed payment with Trustee DeHart's office.

                     AMOUNT DELINQUENT AS OF LAST MONTH: $ 200.00
                         AMOUNT DUE FOR THIS MONTH: $100.00
              TOTAL AMOUNT DUE BEFORE CONFERENCE/HEARING DATE: $300.00

NOTE:
    ALL payments must be made by CERTIFIED CHECK, MONEY ORDER or through
    TFSBILLPAY.COM. NO PERSONAL CHECKS OR CASH WILL BE ACCEPTED!

        DO NOT send your payments REGISTERED, CERTIFIED, FEDERAL EXPRESS, UPS, or by any
        other special delivery service. Doing so will delay processing of your payment and may result in
        dismissal of your case.

        If submitting payment by U.S. First Class Mail mail to:
                  CHARLES J. DEHART, III, PO BOX 7005, LANCASTER, PA 17604



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       If submitting payment using TFSBILLPAY.COM please allow 5 business days for payment to
be applied.

2. You have entered into a valid stipulation with Trustee DeHart and that stipulation has been filed with
the Court, or

3. You have filed a voluntary conversion or a voluntary case dismissal with the U.S. Bankruptcy Court
and have served a copy of that motion upon Trustee DeHart.

FAILURE TO COMPLY WITH THE ABOVE WILL RESULT IN YOUR CHAPTER 13 CASE
BEING CALLED FOR DISMISSAL HEARING WITH THE COURT ON THE DATE AND TIME
AS SPECIFIED IN THIS NOTICE. THIS MAY RESULT IN DISMISSAL OF YOUR CASE.

                                                           Charles J. DeHart, III, Trustee
                                                           8125 Adams Drive, Suite A
                                                           Hummelstown, PA 17036
                                                           Phone: (717) 566-6097
Dated: December 12, 2019




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                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

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             AKA: BILL POSA
             DONNA M POSA
                                                              CHAPTER 13

                             Debtor(s)
                                                              CASE NO: 5-19-03815-RNO
             CHARLES J. DEHART, III
             CHAPTER 13 TRUSTEE
                         Movant

                                         CERTIFICATE OF SERVICE

I certify that I am more than 18 years of age and that on December 12, 2019, I served a copy of this Motion
to Dismiss, Notice and Proposed Order on the following parties by 1st Class mail, unless served
electronically.

PATRICK J BEST, ESQUIRE                                            Served electronically
ANDERS RIEGEL & MASINGTON
18 N 8TH STREET
STROUDSBURG, PA 18360-


United States Trustee                                              Served electronically
228 Walnut Street
Suite 1190
Harrisburg, PA 17101




WILLIAM T POSA
                                                                   Served by 1st Class Mail
DONNA M POSA
423 RAMBLEWOOD DRIVE
SAYLORSBURG, PA 18353




I certify under penalty of perjury that the foregoing is true and correct.

Date: December 12, 2019                             Liz Joyce
                                                    for Charles J. DeHart, III, Trustee
                                                    Suite A, 8125 Adams Dr.
                                                    Hummelstown, PA 17036
                                                    Phone: (717) 566-6097
                                                    eMail: dehartstaff@pamd13trustee.com


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                       Debtor(s)

         CHARLES J. DEHART, III
         CHAPTER 13 TRUSTEE
                    Movant                             CASE NO: 5-19-03815-RNO

         vs.

         WILLIAM T POSA                                MOTION TO DISMISS
         AKA: BILL POSA
         DONNA M POSA



                                        ORDER DISMSSING CASE

       Upon consideration of the Trustee’s Motion to Dismiss, it is hereby Ordered that the above-
captioned bankruptcy be and hereby is dismissed.




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